Case 8:23-cv-02718-CEH-LSG         Document 83   Filed 11/27/24   Page 1 of 7 PageID 925




                      UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 RUMBLE INC.,

                      Plaintiff,

       v.
                                                 Case No. 8:23-cv-02718-CEH-LSG
 NANDINI JAMMI, CLAIRE ATKIN, and
 JOHN DOE NOS. 1–10,

                      Defendants.

             JOINT MOTION TO MODIFY SCHEDULING ORDER

       Pursuant to Federal Rules of Civil Procedure 6(b)(1) and 16(b)(4), Plaintiff

 Rumble Inc. and Defendants Nandini Jammi and Claire Atkin jointly request an

 extension of all remaining deadlines set forth in the Court’s Case Management and

 Scheduling Order such that the new deadlines would be as follows:

            Event                 Current Deadline        Requested New Deadline
                              Plaintiff: Dec. 20, 2024    Plaintiff: June 20, 2025
  Disclosure of expert
                              Defendants: Dec. 20, 2024   Defendants: June 20, 2025
  reports
                              Rebuttal: Jan. 10, 2025     Rebuttal: July 10, 2025
  Discovery Deadline          Feb. 4, 2025                Aug. 4, 2025
  Dispositive, Daubert,
                              Mar. 4, 2025                Sept. 4, 2025
  and Markman Motions
  Meeting in Person to
  Prepare Joint Final         June 6, 2025                Dec. 8, 2025
  Pretrial Statement
  Joint Final Pretrial
                              June 17, 2025               Dec. 17, 2025
  Statement
Case 8:23-cv-02718-CEH-LSG     Document 83     Filed 11/27/24   Page 2 of 7 PageID 926




           Event               Current Deadline          Requested New Deadline
  All other motions
  including motions in     June 17, 2025                Dec. 17, 2025
  limine
  Final Pretrial
                           July 15, 2025                Jan. 29, 2026
  Conference
  Trial Briefs and
  Deposition               July 8, 2025                 Jan. 22, 2026
  Designations
  Trial Term Begins        Aug. 4, 2025                 Feb. 18, 2026

                     MEMORANDUM OF LAW IN SUPPORT

       Pursuant to Federal Rules of Civil Procedure 6(b)(1)(A) and 16(b)(4), the

 Court may, “for good cause,” extend deadlines and modify a scheduling order. Good

 cause exists where the current schedule cannot “reasonably be met despite the

 diligence of the party seeking the extension.” Fed. R. Civ. P. 16(b) advisory

 committee’s note to 1983 amendment; see also, e.g., Sosa v. Airprint Sys., Inc., 133

 F.3d 1417, 1418 (11th Cir. 1998); Zurich Am. Ins. Co. v. S. Owners Ins. Co., 2016

 WL 11707449, at *3 (M.D. Fla. Aug. 25, 2016) (granting joint request to extend

 discovery, mediation, and dispositive-motion deadlines where dispositive motions

 were pending and parties needed to conduct more discovery); 1st Am. Case Mgmt.

 & Scheduling Order, Markle v. Markle, 22-cv-511, ECF No. 61 (M.D. Fla. May 18,

 2023) (granting joint motion for 90-day extension to scheduling order given

 pendency of motion to dismiss); 2d Am. Case Mgmt. & Scheduling Order, Markle

 v. Markle, 22-cv-511, ECF No. 78 (M.D. Fla. May 18, 2023) (granting joint motion


                                           2
Case 8:23-cv-02718-CEH-LSG      Document 83      Filed 11/27/24   Page 3 of 7 PageID 927




 for additional 180-day extension to scheduling order given pendency of motion to

 dismiss).

       Here, all parties agree that the existing schedule cannot be met despite the

 exercise of reasonable diligence – particularly because the parties are uncertain

 about what effect the Court’s forthcoming order on Defendants’ pending motion to

 dismiss will have on the scope and timeframe of this action. Moreover, because the

 parties are jointly seeking this extension, no party would be prejudiced. See United

 States v. Varner, 13 F.3d 1503, 1507 (11th Cir. 1994) (“There is a presumption that

 a pretrial order will be amended . . . provided there is no substantial injury or

 prejudice to the opposing party or inconvenience to the court.”). The parties are not

 seeking this extension in bad faith or for purposes of delay, and none of the deadlines

 the parties are asking the Court to extend have passed. See Utilities Mktg. Grp., LLC

 v. Warrick, 2016 WL 3189155, at *1 (M.D. Fla. June 8, 2016).

       Rumble filed its original Complaint asserting claims for defamation and

 defamation by implication on November 29, 2023. (ECF No. 1.) Defendants filed

 a Motion to Dismiss on April 5, 2024. (ECF No. 30.) A few days later, on April 11,

 2024, the Court issued a Case Management and Scheduling Order. (ECF No. 37.)

       After reviewing Defendants’ Motion to Dismiss, Rumble amended its

 Complaint pursuant to Fed. R. Civ. P. 15(a)(1).          Rumble filed its Amended

 Complaint on April 26, 2024. (ECF No. 42.) On May 10, 2024, Defendants filed a



                                           3
Case 8:23-cv-02718-CEH-LSG     Document 83     Filed 11/27/24   Page 4 of 7 PageID 928




 second Motion to Dismiss the Amended Complaint (ECF No. 44), which remains

 pending before the Court. Briefing on the motion was completed on July 12, 2024,

 and oral argument was held on November 7 and 8, 2024. (ECF Nos. 77, 79.)

       During oral argument, the Court indicated that if it dismisses any of Rumble’s

 claims, it will most likely give Rumble an opportunity to amend its complaint with

 the benefit of the Court’s guidance. Since the Court’s forthcoming order may frame

 the issues of the case in a way that materially affects the scope of discovery, the

 parties agree that additional time is needed to respond to that decision and conduct

 discovery accordingly.    The parties also anticipate that, if the Court grants

 Defendants’ Motion to Dismiss, it will likely do so without prejudice and Rumble

 may file a Second Amended Complaint, in which case there is likely to be another

 round of motion to dismiss briefing. This additional round of briefing would almost

 certainly overrun the current fact discovery deadlines, requiring a modification of

 the existing Case Management and Scheduling Order. The parties would also

 require additional time to conduct discovery in response to the Court’s order

 deciding this potential Motion to Dismiss the Second Amended Complaint.

       Beyond this good cause for an extension, the parties have been diligent in

 conducting written discovery and have not unreasonably delayed. Specifically,

 Rumble served document requests and interrogatories on Defendants, and

 Defendants responded. And Defendants served document requests on Rumble, and



                                          4
Case 8:23-cv-02718-CEH-LSG      Document 83      Filed 11/27/24   Page 5 of 7 PageID 929




 Rumble responded. After several meet and confer calls, the parties intend to start

 producing documents imminently. The parties also require additional time to resolve

 certain disputes, having identified threshold issues concerning the scope of

 document productions and applicable privileges, about which the parties are unable

 to agree that will require Court intervention to resolve. While the parties intend to

 file motions to compel as soon as possible, they agree that additional time is

 necessary to ensure that there is enough time to conduct discovery in the event that

 any of the motions are granted.

       In addition, Rumble served document subpoenas on non-parties Media

 Matters for America and Dewey Square Group pursuant to Federal Rule of Civil

 Procedure 45. Media Matters and Dewey Square refused to produce documents

 responsive to Rumble’s subpoenas. Thus, Rumble must seek intervention from a

 different court to enforce those subpoenas.

       Given the possibility of another round of motion to dismiss briefing and the

 need to resolve certain threshold discovery issues that require intervention by

 multiple courts, the parties jointly request the Court modify the Case Management

 and Scheduling Order and extend all remaining deadlines as listed above. The

 parties believe that the requested extensions will allow adequate time to resolve these

 issues and prevent the parties from having to petition the Court for multiple

 extensions. In addition, the requested extension is less than the approximately nine-



                                           5
Case 8:23-cv-02718-CEH-LSG      Document 83     Filed 11/27/24   Page 6 of 7 PageID 930




 month extension that the Court cumulatively granted the parties in Markle v. Markle,

 which is another defamation case where the parties jointly sought additional time in

 the midst of briefing consecutive motions to dismiss. See 1, infra.

                    LOCAL RULE 3.01(G) CERTIFICATION

       Counsel for Rumble and counsel for Defendants conferred over the phone on

 Friday, November 22, 2024, and this request to modify the Case Management and

 Scheduling Order is made jointly on behalf of all parties.




                                          6
Case 8:23-cv-02718-CEH-LSG     Document 83   Filed 11/27/24   Page 7 of 7 PageID 931




 Dated: November 27, 2024               Respectfully submitted,

  s/ Jered T. Ede                       s/ John M. Browning
  Jered T. Ede                          John M. Browning
  (Florida Bar No. 1045898)             (admitted pro hac vice)
  Elizabeth M. Locke                    Katherine Bolger
  (admitted pro hac vice)               (admitted pro hac vice)
  Nicholas J. Brechbill                 DAVIS WRIGHT TREMAINE LLP
  (admitted pro hac vice)               1251 Avenue of the Americas
  CLARE LOCKE LLP                       New York, New York 11225
  10 Prince Street                      Telephone: (212) 603 6410
  Alexandria, Virginia 22314            jackbrowning@dwt.com
  Telephone: (202) 628-7400             katebolger@dwt.com
  jered@clarelocke.com
  libby@clarelocke.com                  Deanna K. Shullman
  nick@clarelocke.com                   (Florida Bar No. 514462)
                                        Sarah M. Papadelias
 Attorneys for Plaintiff Rumble Inc.    (Florida Bar No. 0125098)
                                        SHULLMAN FUGATE PLLC
                                        2101 Vista Parkway, Ste. 4006
                                        West Palm Beach, Florida 33411
                                        Telephone: (561) 429-3619
                                        dshullman@shullmanfugate.com
                                        spapadelias@shullmanfugate.com

                                        Attorneys for Defendants Nandini Jammi
                                        & Claire Atkin




                                        7
